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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
             v.                              :     CASE NO. 21-cr-495 (ABJ)
                                             :
                                             :
DANIEL GRAY,                                 :
                                             :
                    Defendant                :

                   GOVERNMENT’S NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney

for the District of Columbia, informs the Court that Assistant United States Attorney Daniel

Honold, as counsel for the United States, is terminating his appearance as counsel of record

in this matter. All other government counsel noted on the docket at the time of this filing

will remain counsel for the United States.



                                                   Respectfully Submitted,

                                                   MATTHEW M. GRAVES
                                                   UNITED STATES ATTORNEY
                                                   D.C. Bar No. 481052


                                             By:    /s/ Daniel Honold
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